              3:24-cv-00906-JDA                   Date Filed 08/30/24        Entry Number 37             Page 1 of 1
AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


         AMERICAN CIVIL LIBERTIES UNION
         FOUNDATION OF SOUTH CAROLINA,
                                                                       )
                            Plaintiff
                                                                       )
                         v.                                                 Civil Action No.      3:24-cv-00906-JDA
                                                                       )
    BRYAN STIRLING, in his official capacity as
                                                                       )
      Executive Director of the South Carolina
                                                                       )
           Department of Corrections,
                           Defendant


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                  recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of         %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O the plaintiff, American Civil Liberties Union Foundation of South Carolina, take nothing of the defendant, Bryan
Stirling, in his official capacity as Executive Director of the South Carolina Department of Corrections, and this action
is dismissed with prejudice.


This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable Jacquelyn D. Austin, US District Judge, presiding. The Court having heard and
granted the defendant’s motion to dismiss.



Date: August 30, 2024                                                      ROBIN L. BLUME, CLERK OF COURT

                                                                                           s/Charles L. Bruorton
                                                                                       Signature of Clerk or Deputy Clerk
